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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DAVID C. WARTH,
Plaintiff, CIVIL ACTION FILE NO.

1:23-cv-05072-MLB

Vv.

THOMAS WILLIAMSON,

Defendant.

DEFENDANT’S EXHIBITS TO STATEMENT OF UNDISPUTED
MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT

Ex. H — June 2017 Indictment
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IN

BILL OF INDICTMENT
ASSIGNED TO JUDGE TURNER 178 022 5 ]-

Grand Jury Witnesses

DA Investigator Collin Flynn

We the jury find the defendant

State of Georgia, Gwinnett Superior Court
(2017) March Adjourned Term - Panel A

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State of Georgia = . 5,
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David Christopher Warth ro Sa
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Counts 1 and 2 AGGRAVATED STALKING

(OCGA 16-5-91) :
Count 3 INFLUENCING WITNESS
(OCGA 16-10-93)

CU Bill, this | day of J) Une , 20 ]

Julie Hickey, Gr AW Jury Foreperson

Received in opef court from the sworn Grand Jury bailiff and

filed in office
day Sine.) , 20 177]
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Deput)-Gférk, Gwinhett Stperior Court

This

Daniel J Porter, District Attorney, Gwinnett Judicial Circuit
Special Presentment

The defendant herein watves a copy of indictment, list of

witnesses, formal arraignment and pleads guilty
This day of , 20
Defendant

Foreperson

This

day of

, 20

Attorney for the Defendant

Assistant District Atlome yee Gwinnett Coy
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in Gwinnett oo é
Given under

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BILL OF INDICTMENT

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STATE OF GEORGIA, COUNTY OF GWINNETT
IN THE SUPERIOR COURT OF SAID COUNTY

The GRAND JURORS selected, chosen and sworn for the County of Gwinnett, to wit

Julie Hickey, Foreperson Nancy Helton-McDaniel

Bridget Sullivan, Vice-Foreperson

Amanda Cobb, Clerk Jared Jones

Aranda Hff-Beptty Gterkt Gregorio Pacheco

Jaquise Banes Jennifer Parker

Edernst Barthelus Lindita Prifti

Lannette Birtwistle Robert Ricchiut!

Yolanda Brown Cratg Roberts

Berinda Campbell Kevitha-Surarra

Steve Cannon George K Wong

-Ehristopher Davis— KreaberyKozeny (Alternate #1}

innex-FPrank~ JamekaReeseBlackmon-Aterrate #2)

Geratd A-Hagins- dthar-WiitamstAtternate #3}-
Count 1

in the name and behalf of the citizens of Georgia, charge and accuse David Christopher Warth with
the offense of AGGRAVATED STALKING (OCGA 16-5-91) in that the said accused, in the State
of Georgia and County of Gwinnett, on the 6th day of February, 2017, did then and there unlawfully,
at Broakwood High School, located at 1255 Dogwood Rd, Snellville, in violation of a temporary
restraining order, contact another person, to wit Brittney Dewey, without her consent, for the purpose
of harassing and intimidating sald person by sending said person a threatening and intimidating
email, contrary to the laws of said State, the peace, good order and dignity thereof

Count 2

and the Grand Jurors aforesaid in the name and behalf of the citizens of Georgia, further charge and
accuse David Christopher Warth with the offense of AGGRAVATED STALKING (OCGA 16-5-
91) for the said accused, in the State of Georgia and County of Gwinnett, on the Sth day of February,
2017, did then and there unlawfully, at Brookwood High School, located at 1255 Dogwood Rd,
Snellville, in violation of a condition of pretrial release, contact another person, to wit Brittney Dewey,
without her consent, for the purpose of harassing and intimidating said person by sending said
person a threatening and intimidating email, contrary to the laws of said State, the peace, good order
and dignity thereof

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Count 3

and the Grand Jurors aforesaid in the name and behalf of the citizens of Georgia, further charge and
accuse David Christopher Warth with the offense of INFLUENCING WITNESS (OCGA 16-10-93)
for the said accused, in the State of Georgia and County of Gwinnett, on the 6th day of February,
2017, with intent to deter Brittney Dewey, a witness, from testifying freely, fully and truthfully to a
matter, to wit Criminal Case NO 16-D-06001-5, said matter pending in the State Court of Gwinnett
County did directly communicate, by sending an email to said witness, a threat of injury, contrary to
the laws of said State, the peace, good order and dignity thereof

Daniel J Porter, District Attorney
(drafted Chl proofed JNS)
